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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,                        )
                                                 )
       Plaintiff,                                )   Criminal No. 3:08-cr-69
                                                 )
       v.                                        )
                                                 )   ENHANCEMENT INFORMATION
RICARDO TOWNSEND, a.k.a. Freaky,                 )   AND NOTICE OF PRIOR
                                                 )   CONVICTION(S)
       Defendant.                                )


       COMES NOW the United States of America, by and through the undersigned Special

Assistant United States Attorney, pursuant to Title 21, United States Code, Section 851(a)(1),

and hereby notifies defendant, RICARDO TOWNSEND, a.k.a. Freaky, that he is subject to an

increased penalty pursuant to Title 21, United States Code, Section 841 (b)(1)(A) because of one

or more prior felony drug convictions, to wit:


       1. On or about June 28, 2004, defendant was sentenced after being found guilty of a drug
felony in the Circuit Court of Cook County, Illinois, in case number 02CR2799001, Possession
of a Controlled Substance with Intent to Deliver, in violation of Section(s) 720-570/401(D),
Illinois Criminal Code, a Class 2 felony. The defendant was sentenced to the Illinois Department
of Corrections for a term of imprisonment of three (3) years.
       2. On or about March 1, 1994, defendant was sentenced after being found guilty of a
drug felony in the Circuit Court of Cook County, Illinois, in case number 92CR13570,
Possession of a Controlled Substance with Intent to Deliver, in violation of Section(s)
56.5/1401(c)(2) and Delivery of a Controlled Substance, in violation of Section(s) 56.5/1401(d),
Illinois Criminal Code. The defendant was sentenced initially to thirty (30) months probation on
December 2, 1992. The defendant violated his probation and was sentenced to the Illinois
Department of Corrections for a term of imprisonment of five (5) years.
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                                                     Respectfully Submitted,

                                                     Matthew G. Whitaker
                                                     United States Attorney

                                               By /s/ Melisa Zaehringer
                                                  Melisa Zaehringer
                                                  Special Assistant United States Attorney
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                                                  Davenport, Iowa 52801
                                                  Tel: (563) 449-5432
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                                 CERTIFICATE OF SERVICE

        The undersigned certifies that the foregoing document was served upon all counsel of
record and pro se parties by electronic service by filing this document with the Clerk of Court
using the ECF system on December 12, 2008, which will send notification to the following:

       Matthew Leddin



                                                     /s/ Melisa Zaehringer
                                                     United States Attorney’s Office
                                                     Southern District of Iowa
